Case 2:20-cv-00843-JLB-NPM Document8 Filed 10/27/20 Page 1 of 1 PagelD 28
CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

JS 44 (Rev. 10/20)

purpose of initiating the civil docket sheet.

I. (a) PLAINTIFFS

Eugenia II Investment Holdings Limited (BVI)

(b) County of Residence of First Listed Plaintiff BV

(EXCEPT IN U.S, PLAINTIFF CASES)

(c) Attomeys (Firm Name, Address, and Telephone Number)

Fisher Rushmer, P.A. (407) 843-2111

3900 North Orange Ave., Ste. 2200, Orlando, FL 32801

(SIE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

DEFENDANTS
Anthony Belisle

NOTE:

Attomeys (if Known)

 

County of Residence of First Listed Defendant

Collier C

(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

 

II. BASIS OF JURISDICTION (Place an "x" in One Box Only)

CJ U.S. Government
Plaintiff

| 2 U.S. Government
Defendant

| 3 Federal Question

(U.S. Government Not a Party)

[x]4 Diversity

(Indicate Citizenship of Parties in Item Ll)

 

IV. NATURE OF SUIT (Place an "XN" inQne Box Only)

(For Diversity Cases Only)

fil, CITIZENSHIP OF PRINCIPAL PARTIES (Place an "Xx" in One Box for Plaintiff

and One Box for Defendant)

PTF DEF PTF DEF
Citizen of This State Cl 1 [x] 1 Incorporated or Principal Place L] 4 C] 4
of Business In This State
Citizen of Another State | 2 Cc 2. Incorporated and Principal Place CL 5 CT 5
of Business In Another State
Citizen or Subject ofa [x] 3 C 3 Foreign Nation CL] 6 Cl 6

Foreign Country

Click here for: Nature of $

 

nt Code Deseriptions.
OTHER STATUTES

 

L CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY
110 Insurance PERSONAL INJURY PERSONAL INJURY | 625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane | 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (3] USC

130 Miller Act
140 Negotiable Instrument
150 Recovery of Overpayment

& Enforcement of Judgment}

151 Medicare Act
152 Recovery of Defaulted
Student Loans
(Excludes Veterans)
| 153 Recovery of Overpayment
of Veteran’s Benefits
[_] 160 Stockholders’ Suits
[_] 190 Other Contract
195 Contract Product Liability
196 Franchise

a 315 Airplane Product
Liability

| 320 Assault, Libel &

Slander

im 330 Federal Employers’
Liability
340 Marine
345 Marine Product
Liability
350 Motor Vehicle
355 Motor Vehicle
Product Liability
| 360 Other Personal
Injury
__] 362 Personal Injury -
Medical Malpractice

Product Liability
(_] 367 Health Cares
Pharmaceutical
Personal Injury
Product Liability
LJ 368 Asbestos Personal
Injury Product
Liability
PERSONAL PROPERTY
* 1370 Other Fraud
|__| 371 Truth in Lending
Bl 380 Other Personal
Property Damage
C 385 Property Damage
Product Liability

 

 

 

 

 

Leave Act
790 Other Labor Litigation

 

 

448 Education

:

 

REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS _|
|_| 210 Land Condemnation 440 Other Civil Rights Habeas Corpus:
220 Foreclosure r 441 Voting 1 463 Alien Detainee
230 Rent Lease & Ejectment 442 Employment 510 Motions to Vacate
240 Torts to Land 443 Housing/ Sentence
|_| 245 Tort Product Liability Accommodations | | 530 General
290 All Other Real Property | 445 Amer. w/Disabilities - | | 535 Death Penalty
Employment Other:
446 Amer. w/Disabilities - 540 Mandamus & Other
Other 550 Civil Rights

555 Prison Condition

560 Civil Detainee -
Conditions of
Confinement

 

_]791 Employee Retirement

864 SSID Title XVI
865 RSI (405(g))

 

|] 690 Other 28 USC 157 3729(a))
400 State Reapportionment
PROPERTY RIGHTS 410 Antitrust
820 Copyrights 430 Banks and Banking
830 Patent fe] 450 Commerce
835 Patent - Abbreviated 460 Deportation
New Drug Application ii_| 470 Racketeer Influenced and
[|_| 840 Trademark Corrupt Organizations
LABOR |] 880 Defend Trade Secrets | 480 Consumer Credit
710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
Act | 485 Telephone Consumer
a 720 Labor/Management ___ SOCIAL SECURITY __| Protection Act
Relations 861 HIA (1395ff) 490 Cable/Sat TV
740 Railway Labor Act 862 Black Lung (923) 850 Securities/Commodities/
751 Family and Medical 863 DIWC/DI WW (405(g)) Exchange

890 Other Statutory Actions

 

Income Security Act

IMMIGRATION

FEDERAL TAX SUITS

 

 

[_] 870 Taxes (U.S. Plaintiff
or Defendant)

[_] 871 1RS—Third Party
26 USC 7609

 

462 Naturalization Application
465 Other Immigration
Actions

 

 

Zz 891 Agricultural Acts
893 Environmental Matters
895 Freedom of Information
Act
896 Arbitration
| 899 Administrative Procedure
Act/Review or Appeal of
Agency Decision
| 950 Constitutionality of
State Statutes

 

 

V. ORIGIN (Place an “xX” in One Box Only)

i] 1 Original

Proceeding Sta'

VI. CAUSE OF ACTION

2 Removed from

3
te Court

 

Remanded from
Appellate Court

C4 Reinstated or CO 5

Reopened

Transferred from
Another District
(specify)

Cite the U.S. Civil Statute under which you are filing (De not cite jurisdictional statutes untess diversity):
Diversity - 28 U.S.C. § 1332(a)

Brief description of cause:

Fraud and Nagligent Misrepresentatian

Transfer

6 Multidistrict
Litigation -

8 Multidistrict
O Litigation -
Direct File

 

 

 

 

 

VII. REQUESTED IN — [] CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. $7,500,000 JURY DEMAND: [x]Yes []No

VIII. RELATED CASE(S)
IF ANY (See instructions): JUDGE DOCKET NUMBER

DATE AT EOF ATTORNEY OF RECORD

10/23/2020 .

FOR OFFICE USE ONLY i So

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG, JUDGE
